Gnited States Court of Appeals
for the Fifth Circuit

United States Courts
Southern District of Texas
FILED

No. 23-20256 July 05, 2023
Nathan Ochsner, Clerk of Court

EVERETT DE’ ANDRE ARNOLD; KADEN BRADFORD; SANDY
ARNOLD,

Plaintiffs — Appellees,
BESUS
BARBERS HILL INDEPENDENT SCHOOL DISTRICT; BARBERS
HILL INDEPENDENT SCHOOL DISTRICT’S BOARD OF TRUSTEES;

FRED SKINNER; GREG POOLE,

Defendanis— Appellants.

Appeal from the United States District Court
for the Southern District of Texas
USDC No. 4:20-CV-1802

UNPUBLISHED ORDER

Before ELROD, GRAVES, and Ho, Circuit Judges.
PER CURIAM:
IT IS ORDERED that Appellants’ motion for a temporary admin-

istrative stay is GRANTED. All proceedings before the district court are
hereby STAYED pending further order of this court.
United States Court of Appeals

FIFTH CIRCUIT
OFFICE OF THE CLERK

LYLE W. CAYCE
CLERK

TEL. 504-310-7700
600 §. MAESTRI PLACE,
Suite 115
NEW ORLEANS, LA 70130

July 05, 2023

MEMORANDUM TO COUNSEL OR PARTIES LISTED BELOW:

No. 23-20256 Arnold v.

Barbers Hill Indep Sch Dist

USDC No. 4:20-CV-1802

Enclosed is an order entered in this case.

Mr.
Ms.
Mr.
Ms.
Mr.
Mr.
Ms.
Ms.
Ms.

Jonathan Griffin Brush
Amy Dawn Demmler

Richard Alan Morris

Janai S. Nelson

Nathan Ochsner

Nicholas Petree

Alexandra Sloane Thompson
Roxanne Tizravesh
Michaele Turnage Young

Sincerely,

LYLE W. CAYCE, Clerk

Bia Bhat

RebeSca L. Leto, Deputy Clerk
504-310-7703

